                       IN THE UNITED STATES DISTRICT COURT
                        THE MIDDLE DISTRICT OF TENNESSEE
                              NORTHEASTERN DIVISION

Jack L. Sisk and Elizabeth M. Sisk,                   )
                                                      ) Case No. 1:10-cv-0006
Plaintiffs,                                           )
                                                      ) Judge Haynes
v.                                                    )
                                                      )
Hi-Tech America Development (HAD) III                 )
Corporation, et al.                                   )
                                                      )
Defendants.                                           )

                             DENIAL OF ENTRY OF DEFAULT

       Pending is Plaintiffs’ Motion for Default Judgment (Docket Entry No. 19) against Defendant

Ronald Konitzer. The Clerk will construe the motion as being made pursuant to FRCP 55(a), as no

default judgment may be granted pursuant to FRCP 55(b) until default has been entered pursuant to

FRCP 55(a). Ramada Franchise Systems, Inc. v. Baroda Enterprises, LLC 220 F.R.D. 303 (N.D.

Ohio 2004).

       The Clerk has reviewed the Complaint (Docket Entry No. 1), the returned Summons (Docket

Entry No. 11) and the Motion for Default Judgment (Docket Entry No. 19). The Clerk notes two

issues with Plaintiffs’ filing. First, Plaintiffs’ served Defendant Konitzer outside of the United States

but have not documented how this service is effective under Federal Rule of Civil Procedure 4(f).

Second, Plaintiffs have not included an affidavit of military service as required by the

Servicemembers Civil Relief Act of 2003 (50 App. U.S.C. 501 et seq.). The Act requires that

affidavits be submitted that “state whether or not the Defendant is in military service and showing

facts necessary to support the affidavit” (emphasis added). Information on the military status of an

individual    can     be     obtained     at    the    Department       of    Defense      website     at

https://www.dmdc.osd.mil/appj/scra/scraHome.do. That website provides an on-line search utility


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(SSN required) as well as a help button link that provides information on where requests for

information can be sent (no SSN required) to determine whether a particular individual is on active

duty in the military. Alternatively, a sworn statement or declaration from the Defendants or someone

in a position to know the military status of the individual could be accepted. Other factors, such as

the age of Defendant if beyond the age for service can be considered. These issues compel the Clerk

to deny Plaintiffs’ motion.

       Accordingly, Plaintiffs’ motion is denied. The Plaintiffs may re-file a motion for default

when the deficiencies noted have been corrected.



                                                           s/ Keith Throckmorton
                                                           Keith Throckmorton
                                                           Clerk of Court




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